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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


UNITED STATES OF AMERICA                        §

Vs.                                             §           CRIM ACTION NO. 6:13CR112-1

KRISTI ISOM                                     §



            ORDER ADOPTING THE REPORT AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE


       The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

the FED. R. CRIM. P. 11(c)(1)(C) plea agreement. She further recommended that the Court finally

adjudge Defendant as guilty of Count 3 of the First Superseding Indictment filed against

Defendant in this cause.

       In open court at the plea hearing on June 10, 2014, the parties waived their right to object

to the magistrate judge’s findings.      The Court is of the opinion that the Report and

Recommendation should be accepted. It is accordingly

       ORDERED that the Report and Recommendation of the United States Magistrate Judge

is ADOPTED. It is further




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        ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

the plea agreement is approved by the Court, conditioned upon a review of the presentence

report. It is finally

        ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

GUILTY of Count 3 of the First Superseding Indictment in the above-numbered cause and

enters a JUDGMENT OF GUILTY against the Defendant as to Count 3 of the First

Superseding Indictment.

        So ORDERED and SIGNED this 12th day of June, 2014.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE




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